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7                        UNITED STATES DISTRICT COURT
8                       CENTRAL DISTRICT OF CALIFORNIA
9
      CHIDDY GOLDEN,                              ) Case No. 2:22-cv-01854-DSF-MAR
10                                                )
      Plaintiff,                                  ) ORDER
11
                                                  )
12            vs.                                 )
13                                                )
       BANK OF AMERICA, N.A., and                 )
14
       DOES 1-10, INCLUSIVE,                      )
15                                                )
      Defendant.                                  )
16
                                                  )
17                                                )
18

19            IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
20    this matter is dismissed with prejudice, pursuant to Federal Rule of Civil
21    Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and attorneys’
22    fees.
23            IT IS SO ORDERED.
24    DATED: November 23, 2022
25
                                               Honorable Dale S. Fischer
26                                             UNITED STATES DISTRICT JUDGE
27

28




                                         Order to Dismiss - 1
